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                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

SARAH LYNN MALONE                                            )
                                                             )
                       Plaintiff,                            ) Supreme Court of the State of
                                                             ) New York County of Rensselaer
v.                                                           ) Case No. 2024 _______
                                                             )
STRATEGIC LIMITED PARTNERS, LP and                           )
ROY ANDLING                                                  )      1:24-cv-00397 (GTS/CFH)
                Defendants.                                  )


                                    NOTICE OF REMOVAL

TO:    THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
       NORTHERN DISTRICT OF NEW YORK

       PLEASE TAKE NOTICE, Defendants, STRATEGIC LIMITED PARTNERS, LP and

ROY ANDLING, pursuant to 28 U.S.C.§§ 1331, 1441, and 1446, hereby remove this civil action

from the Supreme Court of the State of New York County of Rensselaer, Third Judicial District,

to the United States District Court for the Northern District of New York. In support of this Notice

of Removal, Defendants state as follows:

       1.      On February 13, 2024, SARAH LYNN MALONE, filed an action in the Supreme

Court of the State of New York County of Rensselaer. A true and correct copy of the Complaint

at Law is attached hereto as Exhibit “A”. This notice is filed within 30 days of service, which

was first notice of the pleading pursuant to 28 U.S.C. § 1446.

       2.      Plaintiff’s Complaint at Law action alleges violations of The Telephone Consumer

Protection Act 47 USC § 227. Therefore, there is Federal Question Jurisdiction.

       3.      As required by 28 U.S.C. § 1446(d), this Notice of Removal will be served upon

all parties of record and will be filed with the Supreme Court of the State of New York County of

Rensselaer.

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       4.      All attorneys for Defendants, STRATEGIC LIMITED PARTNERS, LP and ROY

ANDLING, agree and consent to removal of this action from the Supreme Court of the State of

New York County of Rensselaer, Third Judicial District, to the United States District Court for the

Northern District of New York.

       5.      The United States District Court for the Northern District of New York, is the

District Court that should receive this matter pursuant to 28 U.S.C. § 112(a).

       6.      Pursuant to the requirements of 28 U.S.C. § 1446(a), the pleadings filed in the

Rensselaer County action have been filed herewith this Notice of Removal.

       WHEREFORE, Defendants, STRATEGIC LIMITED PARTNERS, LP and ROY

ANDLING, do hereby give notice of removal of this action to the United States District Court for

the Northern District of New York.

DEFENDANTS DEMAND TRIAL BY JURY

Dated: Carle Place, New York
       March 21, 2024                        Respectfully submitted,

                                             s/ Gina M. Arnedos
                                             Gina M. Arnedos Bar Number: 2416725
                                             Attorneys for Defendants
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                                             and ROY ANDLING
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